                  Case 5:16-cv-00125-gwc Document 483 Filed 04/18/22 Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                                              for the
                                                       District of Vermont



James D. Sullivan, Individually, and on behalf of a Class
of persons similarly situated et al.                              )
                                                                  )
                        Plaintiff(s)                              )
                                                                  )
                            v.                                    )       Civil Action No. 5:16-cv-125
                                                                  )
Saint-Gobain Performance Plastics Corporation                     )
                                                                  )
                       Defendant(s)




                                       JUDGMENT IN A CIVIL ACTION


☐   Jury Verdict.

 Decision by Court.

IT IS ORDERED AND ADJUDGED that pursuant to the court's Final Approval Order (Document No. 481) filed April 18, 2022,
plaintiffs' Motion for Attorney's Fees and Expenses to Class Counsel (Document No. 474) and Unopposed Motion for Final
Approval of Class Action Settlement (Document No. 477) are GRANTED. The court hereby APPROVES the Settlement Agreement
and DISMISSES the action with prejudice. The court enters FINAL JUDGMENT as to Saint-Gobain and the claims against it in
this action pursuant to Federal Rule of Civil Procedure 54(b). Additionally, the court retains continuing jurisdiction over the
Medical Monitoring Program and the Qualified Settlement Fund, and retains continuing and exclusive jurisdiction over the Parties,
the class members, and this Settlement, to interpret, implement, administer, and enforce the Settlement in accordance with its terms.


                                                                        JEFFREY S. EATON
Date: April 18, 2022                                                    CLERK OF COURT

JUDGMENT ENTERED ON DOCKET
DATE ENTERED: 4/18/2022                                                 /s/ Elizabeth S. Morris
                                                                        Signature of Clerk or Deputy Clerk
